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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                            8:12CR311

        vs.
                                                                                  ORDER
DARREN STEWART,

                         Defendant.


        Defendant Darren Stewart appeared before the court on May 1, 2018, on a Petition for Offender Under
Supervision [853]. Defendant was represented by Federal Public Defender David R. Stickman, and the United
States was represented by Assistant U.S. Attorney Kimberly C. Bunjer. Through his counsel, Defendant
requested a preliminary hearing. The government moved for detention, and a detention hearing was held. The
court found that Defendant failed to carry his burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that he is neither a flight risk nor a danger, and that he should be detained. A preliminary
hearing was scheduled for May 3, 2018, before Magistrate Judge Michael D. Nelson.
      At the hearing on May 3, 2018, Defendant waived his right to a preliminary hearing on the Petition for
Offender Under Supervision [853] pursuant to Fed. R. Crim. P. 32.1(a)(1). Defendant orally moved for a
review of his detention. The government did not oppose Defendant’s release on the conditions set forth on the
record, and therefore, Defendant was released on the current terms and conditions of supervision.
      The undersigned magistrate judge does find that the petition alleges probable cause and that Defendant
should be held to answer for a final dispositional hearing before Senior Judge Joseph F. Bataillon.


        IT IS ORDERED:
        1.       A final dispositional hearing will be held before Senior Judge Joseph F. Bataillon in
Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
on June 7, 2018, at 2:30 p.m. Defendant must be present in person.
        2.       Defendant is released on the current terms and conditions of supervision.


        Dated this 4th day of May, 2018.

                                                            BY THE COURT:

                                                            s/ Michael D. Nelson
                                                            United States Magistrate Judge
